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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                  :       1:21-cr-00542-TJK
                                          :
v.                                        :
                                          :
OWEN SHROYER                              :       January 23, 2023


                 DEFENDANT’S CONSENT MOTION FOR CONTINUANCE

         The defendant, through counsel, requests a continuance of 30 days for the Status

Conference set for January 27th, 2023. In support hereof, the undersigned represents as

follows:

     •   The undersigned is counsel for Owen Shroyer in the instant matter.

     •   The undersigned is in trial.

     •   Conversations between the Government and defense have not reached a point

         where a hearing would be efficacious.

     •   The Government consents to this request.

     •   Mr. Shroyer is requesting that he not be required to come to Washington this

         week.

Wherefore the undersigned moves the Court to continue the hearing scheduled for

January 27th, 2023 until February 28th, 2023.




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                                                    THE DEFENDANT


                                                    By:_____/s/_______
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                                      CERTIFICATION

        This is to certify that on January 23rd, 2023, a copy of the foregoing was filed

electronically. Notice of this filing will be sent, via e-mail, to all parties by operation of

the Court’s electronic filing system, and the undersigned did cause to be sent, via First

Class U.S. mail, postage prepaid, a copy of the foregoing to all counsel and pro se

parties that do not have access to the Court’s electronic filing system and to whom the

court directs the undersigned to send a hard copy via mail. Parties may access this

filing through the Court’s system.



                                  /s/ NORMAN A. PATTIS /s




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